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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
 ASCENDIUM EDUCATION SOLUTIONS, )
 INC.,                                   )
                                         )
           Plaintiff,                    )                 Case No. 1:19-cv-03831-CJN
       v.                                )
                                         )
 MIGUEL CARDONA, Secretary of Education, )
 and UNITED STATES DEPARTMENT OF )
 EDUCATION,                              )
                                         )
           Defendants.                   )
                                         )

                                   NOTICE OF APPEAL

       Notice is hereby given that the Defendants appeal to the United States Court of Appeals

for the District of Columbia Circuit from the memorandum opinion (ECF No. 20) and order (ECF

No. 21) entered by the court on February 24, 2022.



Dated: April 22, 2022                                Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     /s/ Cormac A. Early
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